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IN THE UNITED sTATES DISTRICT COURT -
FOR THE WESTERN DISTRICT oF TENNESSEE 05 “UG “2 P" '2: 09
WESTERN DIVISION M M, GOULD
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UNITED STATES OF AMERICA,

Plaintiff, Case No.: 99-20071 D

v.
RODERICK D. KELLY,

Defendant.

 

ORDER

 

On the docket are the following motions:
Docket No. 85 - Motion for Departure;
Docket No. 103 - Motion to Reduce Sentence; and
Docket No. 138 - Motion to Reduce Sentence.
It appears that these motions were addressed and resolved by Judge McCalla during the

pendency of the case. Accordingly, the Clerk is directed to strike these motions as moot.

IT IS SO ORDERED this [ K day of , 2005.

 

ED STATES DISTRICT JUDGE

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UNITED `sTATE DISTRICT COURT - WESTERN D'S'TRCT OFTENNESSEE

   

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Honorable Bernice Donald
US DISTRICT COURT

